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Appendix C Complications or Comorbidities Exclusion fist

Appendix C is a list of all of the codes that are defined as either a complication or comorbidity (CC) or a major
complication or comorbidity (MCC) when used as a secondary diagnosis.

Part 1 lists these codes. Each code is indicated as CC or MCC. If the CC or MCC is allowed with all principal diagnoses,
then the phrase NoExcl follows the CC/MCC indicator. Otherwise, a link is given to a collection of diagnosis codes
which, when used as the principal diagnosis, will cause the CC or MCC to be considered as only a nen CC,

Part 2 lists codes which are assigned as a Major CC only for patients discharged alive. Otherwise they are assigned as a
non-Cc,

Part i: bist of CO and Major CC codes
Part 2: Major CC only for patients discharced alive,

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